  Case 3:16-cr-00124-SRU Document 216 Filed 12/13/17 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                               CRIMINAL NO. 3:I6CRI24(SRU)

 V.

 JAMES C. DUCKETT, JR.                                  DECEMBER 13,2017

                              MOTION FOR PERMISSION TO
                               TRAVEL TO VISIT FAMILY

       For the reasons which follow, James C. Duckett, Jr., the defendant, moves this

Court for permission to travel to Florida to visit his daughter and close family members

upon notification to the United States Probation Office:

       1. The defendant, James C. Duckett, Jr., was convicted on or about July 6, 2017,

of 12 counts of conspiracy to Commit Mail Wire Fraud; Wire Fraud and Illegal

Monetary Transactions.

       2. The defendant is 45 years of age and lives in Danielson, Connecticut.

       3. The defendant is presently out on bond and has been reporting to U.S.

Probation as required.

      4.   The defendant was sentenced on December 6, 2017, and was provided a self-

surrender date of January 31,2018.




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  Case 3:16-cr-00124-SRU Document 216 Filed 12/13/17 Page 2 of 4




        5. The defendant would like to visit his daughter in Florida from December 15 th ,

2017 through December 21, 2017.

       6. The defendant's cousin, Rondell Jones, will be paying for defendant's airfare.

       7. While visiting his daughter, Alexis Victoria Duckett, the defendant will be

staying with Kimberly Amadon, whose residence is located at 5400 S. Williamson

Boulevard Unit #301 Port Orange, Florida 32128.

       8.   Defendant is in compliance with the terms of his release.

       9. Mr. Duckett is requesting permission to travel to see the above-referenced

family members. U.S. Probation (Senior Probation Officer Abigail Mahar) leaves this to

the Court and takes no position.

       10. Counsel for the Defendant has communicated with A.D.S.A Karwan

regarding this motion. Her position regarding this motion is she objects.




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Case 3:16-cr-00124-SRU Document 216 Filed 12/13/17 Page 3 of 4




     Wherefore. it is so moved.




                                            DEFENDANT, JAMES C. DUCKETT, JR.




                                            By
                                                          /}
                                                     /<,/ ~/Z_''''''''--''~
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 Case 3:16-cr-00124-SRU Document 216 Filed 12/13/17 Page 4 of 4




                                      CERTIFICATION

       This is to certify that on December 13, 2017, a copy of the foregoing Motion was
served by email to all parties by operation of the Court's electronic filing system or by
mail on anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court's CMlECF System.
Also sent to the following by U.S. postal mail:

A.U.S.A. Sara P. Karwan                                 Abigail Mahar
Office of U.S. Attorney                                 Senior U.S. Probation Officer
157 Church Street, 23 rd Floor                          Office of U.S. Probation
New Haven, CT 06510                                     450 Main Street, Room 735
                                                        Hartford, CT 06103
A.U.S.A. Douglas Morabito
Office of U.S. Attorney
157 Church Street, 23'd Floor
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